Rosa cycne CASH AR PY-OALYS Pocument 1158 Filed on oeloatrg IN TASB. Page 1 of 2

AZ tomer CLenns otic e PY Ip

Coc Bo WARRI Re J or —
~ . 377

PB Retipe pUELE tT} 7 Ss 20-7 Up nO fs

eG SE ree LL Che ficcen ts $ €cuau s PRP Fle CUS JUN 3 2019

coe wr. God David J. Bradley, Clerk of Court

De Cares SOMIT

( (an gt GR (1 Pures

? 9 (QT Cok tes Yor WEF. FI Boocmey Fron ms
OEY

vu Care BR PR

06 PocKes Sore fpcuup fIAL lor Fon TY

To ‘ ee . ae ACE

\ b ee 2 us Conc@ (ret PRR AS NN eS He
, (ous é§ ° coe
| “ ew Me & Ww vm &
| 4 2 Meh DCETheeT! &
| ON G Ory

ée
fun 68, Uf louse Cen C op §

Tomas ¢
sq CANNew bes

(VAS(s PC Post
3 y3- 227-9709 Kaw ) 360

Debigg on Bkianmnal W™

351 Xv {ce Ss?

PlEAIE Coptact

Bmace
IA (S CTBNC L419

 
Case 2:13-cv-00193 Document 1158 Filed on 06/03/19 in TXSD Page 2 of 2

R

(ACK Cw forarat Demraa

flere. Ure &

"Ach

\c

C CEN

    

iC 37

114

we tte ee

v, Clerk of bce

SEC

au”
ate

SUP Rear
THS GyareSEro
AN INARA ify THE

NOC Fe Sek.

  

 

Ks G SAL Cp pA D'V ENMTUR EH POl-rp CIAACE
CAS Pistheer COAK, Oof-Frce Teo

Geo F (tarry, Reo bu
BReuesyiite Te PSr2e-7279

        

FOREVER

 

> pe FE aE fifeneneppend gop lddedpppUdbegy ly fp pty tbsg andy ffs gpbegna] Lp]

 
 
